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Law firm ref#: CYNERGY

 

 

 

 

 

 

 

 

 

 

 

IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT
OF ILLINOIS EASTERN DIVISION

 

CYNERGY DATA LLC, Case No.: 18 cv 1459
Plaintiff(s), . l l.

VS.

BMO HARRIS BANK N.A.,
Defendant(s).

AEEIDA!II&F_§£E£IALMLSEB!EB
Migh@l_Mit£h§]l , Being first duly sworn on oath, deposes and states the following:

1 am over the age of 18 and not a party to this action. I am an employee of ATG LegalServe, Inc., I]linois
Department of Financial and Professional Regulation number 117.001494.

INDIVIDUAL/ENTITY TO BE SERVED: BM() Harris Bank, N.A., Attn: Legal Department
I, Served the within named defendant on February 28, 2018 @ 4:15 PM

CORPORATE SERVICE: by leaving a copy of this process with Diana Castillo. (Title): Receptionist, a person
authorized to accept service. I informed that person of the contents thereof .

TYPE OF PROCESS: Summons in a Civil Case; Complaint; Standing Order Regarding Mandatory Initial
Discovery I’ilot Project; Mandatory Initial Discovery Pilot Project Checklist; Notice of Mandatory Initial
Discovery

ADDRESS WHERE SERVED: 111 W. Monroe Street, Chicago, IL60603

The sex, race and approximate age of the INDIVIDUAL with whom the copy of this process was left is as
follows:

Sex: Female - Race: Hispanic - Hair: Black - Approx. Age: 30-35 - Height: Sitting - Weight: 190-200

The undersigned verifies that the statements set forth in this Aftidavit of Service are tru and correct.

 

State of l L-

County of l go k'§
This ln tru enl was subs ii c and sworn to before me on g l \@ (date)
By \ (name/s of person/s)

Michael itchell , Process Server
Dated %Ll f lZ ATG LegalServeInc

ATG LegalServe Inc
’ 105 W. Adams Street, Suite 1350
________________________ Chicago, lL60603

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JEFFREY DAN|EL
NoTARY PuBLlc - sTATE oF lu.lNots
MY commission ExPcREs;o1/31/21

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